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MANDATE
                                                                                           E.D.N.Y.–Bklyn
                                                                                               04-cv-4338
                                                                                              Irizarry, C.J.


                             United States Court of Appeals
                                                   FOR THE
                                            SECOND CIRCUIT
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                   At a stated term of the United States Court of Appeals for the Second
     Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
     in the City of New York, on the 31st day of August, two thousand sixteen.

     Present:
                    Jon O. Newman,
                    Guido Calabresi,
                    Reena Raggi,
                          Circuit Judges.

     Barry Reese,

                                   Petitioner,

                    v.                                                           16-2124

     United States of America,

                                   Respondent.


     Petitioner moves for leave to file a successive 28 U.S.C. § 2255 motion. Upon due consideration,
     it is hereby ORDERED that the motion is DENIED because Petitioner has not satisfied the criteria
     set forth in 28 U.S.C. § 2255(h).

     Petitioner does not rely upon a new rule of constitutional law within the meaning of § 2255(h)(2).
     Nor does Petitioner rely upon newly discovered evidence within the meaning of § 2255(h)(1).
     Specifically, Petitioner has not demonstrated that the factual predicate for his motion could not
     have been discovered, through the exercise of due diligence, prior to the filing of his first § 2255
     motion, see Herrera-Gomez v. United States, 755 F.3d 142, 147 (2d Cir. 2014) (holding that
     prisoners seeking leave to file a successive § 2255 motion must act with due diligence in
     investigating and presenting their claims based on newly discovered evidence), or that the factual
     predicate for his motion is “sufficient to establish by clear and convincing evidence that no
     reasonable factfinder would have found [him] guilty of the offense,” 28 U.S.C. § 2255(h)(1).




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Likewise, regarding Petitioner’s actual innocence argument, he has not demonstrated “that, in light
of new evidence, ‘it is more likely than not that no reasonable juror would have found [him] guilty
beyond a reasonable doubt.’” House v. Bell, 547 U.S. 518, 536–37 (2006) (quoting Schlup v.
Delo, 513 U.S. 298, 327 (1995)) (discussing standard for actual innocence claims serving as a
gateway to defaulted constitutional claims); id. at 555 (quoting Herrera v. Collins, 506 U.S. 390,
417 (1993)) (discussing the higher standard applicable to freestanding actual innocence claims).
Additionally, actual innocence means factual innocence, see Bousley v. United States, 523 U.S.
614, 623–24 (1998), and Petitioner has not demonstrated that he is factually innocent of either the
federal crimes now at issue or the prior state crime that was used to enhance his later federal
sentence.
                                               FOR THE COURT:
                                               Catherine O’Hagan Wolfe, Clerk of Court




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